Case 1:18-cv-20394-RNS Document 141 Entered on FLSD Docket 10/29/2019 Page 1 of 5




                                 UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                     Case No. 18-20394-CIV-Scola/Torres

   UNITED STATES OF AMERICA ex rel.                     )
   DEREK LEWIS and JOEY NEIMAN,                         )
                                                        )
                                  Plaintiffs,           )
                                                        )
   v.                                                   )
                                                        )
   COMMUNITY HEALTH SYSTEMS, INC.,                      )
   et al.                                               )
                                                        )
                                  Defendants.
                                                        )

                    PLAINTIFFS' MOTION TO SEAL DOCKET ENTRY NO. 137

                     Plaintiffs/Relators hereby move, pursuant to Fed. R. Civ. P. 7(b) and Local Rule

  5.4, for this Court to seal Docket Entry No. 137, and in support thereof states as follows:

                     1.       On October 24, 2019, Plaintiffs/Relators filed their Consolidated Response

  in Opposition to Defendants' Motions to Dismiss Relators' First Amended Complaint and

  Incorporated Memorandum of Law (the "Opposition"). See ECF No. 137.

                     2.       The Opposition inadvertently referenced a document that CHS produced to

  the Department of Justice (“DOJ”) in response to a Civil Investigative Demand (“CID”) and that

  was designated as confidential. Plaintiffs did not intend to include it in the public record.

                     3.       Plaintiffs also intend to file a Notice of Striking Docket Entry No. 137 and

  Notice of Errata and Motion for Leave to file a corrected Opposition and supporting exhibits.

                     4.       While material filed in connection with dispositive pretrial motions is

  generally subject to a right of public access, that right may be overcome on a showing of good

  cause. Romero v. Drummond Co., 480 F.3d 1234, 1245 (11th Cir. 2007) (citing Chicago Tribune



  11087543v3 10/25/2019 6:19 PM                                                                    7935.001
Case 1:18-cv-20394-RNS Document 141 Entered on FLSD Docket 10/29/2019 Page 2 of 5



  Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304, 1312 (11th Cir. 2001)). A showing of good

  cause requires “balanc[ing] the asserted right of access against the other party’s interest in keeping

  the information confidential,” which turns on the “nature and character of the information in

  question.” Chicago Tribune, 263 F.3d at 1309 & 1315. In balancing the public and private

  interests, courts consider whether public access would “impair court functions or harm legitimate

  privacy interests, the degree of and likelihood of injury if made public, the reliability of the

  information, whether there will be an opportunity to respond to the information, whether the

  information concerns public officials or public concerns, and the availability of a less onerous

  alternative to sealing the documents.” Romero, 480 F.3d at 1246 (citations omitted). A party’s

  privacy or proprietary interest in information may overcome the interest of the public in accessing

  the information. See Nixon v. Warner Commcn's, Inc., 435 U.S. 589, 598 (1978).

                 5.      There is good cause to seal Docket Entry No. 137, which references a

  document that CHS produced to the DOJ in response to a CID and designated as confidential. The

  document was therefore produced in a non-public proceeding and the producing party has asserted

  a privacy or proprietary interest with respect to it. Cf. In re Alexander Grant & Co. Litig., 820

  F.2d 352, 355 (11th Cir. 1987) (“[P]rivate litigants have protectable privacy interests in

  confidential information disclosed through discovery.”). These circumstances weigh strongly in

  favor of sealing.

                 6.      The privacy or proprietary interests in the document referenced in Docket

  Entry No. 137 outweigh any public interest in disclosure. Relators did not intend to include the

  document in the public record and Relators are filing a Notice of Striking Docket 137 and a Notice

  of Errata with a corrected Opposition in the public record. The confidential document referenced

  in that entry will accordingly play no role in the Court’s resolution of the underlying Motions to




                                                   -2-
Case 1:18-cv-20394-RNS Document 141 Entered on FLSD Docket 10/29/2019 Page 3 of 5



  Dismiss. Accordingly, sealing Docket Entry No. 137 will have no effect on the public’s ability to

  review the basis for the Court’s decisions in this action. Cf. Romero, 480 F.3d at 1246 (“Decisions

  less central to merits resolutions implicate lesser right-to-access considerations.” (citation

  omitted)). Because Docket Entry No. 137 will play no role in merits resolutions, the public’s

  interest in the document referenced therein is limited at best and outweighed by the countervailing

  privacy and proprietary interests.

                 7.      Upon discovery of the inadvertent reference to the document, counsel for

  Relators contacted the United States Attorney’s Office for the Southern District of Florida and the

  Department of Justice on Friday, October 25. The Government indicated that they concurred in

  moving to seal and strike Docket No. 137, and with Relators’ intention to file a corrected

  Opposition. On Saturday, October 26, counsel for Relators contacted counsel for the Defendant

  CHS Entities and informed them of the inadvertent disclosure. Counsel for Relators provided

  counsel for the Defendant CHS Entities with a copy of the CHS document and provided them with

  the reference to it in the Opposition brief. Counsel for Relators also informed counsel for the

  Defendant CHS Entities of their intention to move to seal and to strike Docket Entry No. 137, and

  to file a corrected Opposition. On Monday, October 28, at approximately 9:30 p.m., counsel for

  CHS informed counsel for Relators that they do not object to moving to seal and strike Docket

  Entry No. 137, or with Relators moving to file a corrected Opposition. Also, on Monday, October

  28, counsel for Relators informed counsel for Medhost of the inadvertent reference to a CHS

  document and of their intention to seek the relief herein and of their intention to move to seal and

  to strike Docket Entry No. 137 and to move to file a corrected Opposition. On Tuesday, October

  29, counsel for Medhost informed counsel for Relators that they do not oppose the relief of striking

  the Opposition but do oppose Relators’ intended Motion for Leave to file a corrected Opposition




                                                  -3-
Case 1:18-cv-20394-RNS Document 141 Entered on FLSD Docket 10/29/2019 Page 4 of 5



  and may decide to file an opposition to Relators’ intended Motion for Leave to file a corrected

  Opposition.

                WHEREFORE, Plaintiffs respectfully request that the Court seal Docket Entry No.

  137.

   Dated: October 29, 2019                       Respectfully submitted,

                                                 PLAINTIFF/RELATORS DEREK LEWIS
                                                 and JOEY NEIMAN

                                                 /s/ Jeffrey W. Dickstein
                                                 Jeffrey W. Dickstein (FL Bar No. 434892)
                                                 PHILLIPS & COHEN LLP
                                                 Southeast Financial Center
                                                 200 S. Biscayne Blvd., Suite 2790
                                                 Miami, Florida 33131
                                                 Tel: (305) 372-5200
                                                 jdickstein@phillipsandcohen.com

                                                 Colette G. Matzzie*
                                                 Luke J. Diamond
                                                 PHILLIPS & COHEN LLP
                                                 2000 Massachusetts Ave., N.W.
                                                 Washington, D.C. 20036
                                                 Tel: (202) 833-4567
                                                 cmatzzie@phillipsandcohen.com
                                                 ldiamond@phillipsandcohen.com

                                                 Edward Arens*
                                                 PHILLIPS & COHEN LLP
                                                 100 The Embarcadero, Suite 300
                                                 San Francisco, CA 94105
                                                 Tel: (415) 836-9000
                                                 earens@phillipsandcohen.com

                                                 David J. Chizewer*
                                                 David E. Morrison*
                                                 Harleen Kaur
                                                 Danielle K. Johnson
                                                 Juan C. Arguello
                                                 GOLDBERG KOHN LTD.
                                                 55 E. Monroe Street, Suite 3300
                                                 Chicago, IL 60565



                                                -4-
Case 1:18-cv-20394-RNS Document 141 Entered on FLSD Docket 10/29/2019 Page 5 of 5



                                        Tel: (312) 201-4000
                                        Fax: (312) 863-7472
                                        David.chizewer@goldbergkohn.com
                                        David.morrison@goldbergkohn.com
                                        Harleen.kaur@goldbergkohn.com
                                        Danielle.johnsons@goldbergkohn.com
                                        Juan.Arguello@goldbergkohn.com

                                        *Admitted Pro Hac Vice




                                       -5-
